          Case 2:20-cv-00613-APG-EJY Document 33 Filed 10/19/20 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 EILEEN GOLDMAN,                                         Case No.: 2:20-cv-00613-APG-EJY

 4          Plaintiff                                 Order Setting Hearing on Pending Motions

 5 v.                                                             [ECF Nos. 10, 15, 27]

 6 NATIONWIDE MUTUAL INSURANCE
   COMPANY, a foreign corporation;
 7 SCOTTSDALE INDEMNITY COMPANY, a
   foreign corporation,
 8
          Defendants
 9

10         I will conduct a hearing on the pending motions (ECF Nos. 10 and 15) and the plaintiff’s

11 objection (ECF No. 29) to Magistrate Judge Youchah’s Report and Recommendation (ECF No.

12 27) on Monday, October 26, 2020 at 9:30 a.m. PDT. The parties are limited to 10 minutes per

13 side. The hearing will be conducted by video conference. My courtroom deputy will send out

14 instructions for connecting to that conference by separate notice.

15         DATED this 19th day of October, 2020.

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                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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